     Case 24-15150-VFP                    Doc 46 Filed 05/31/24 Entered 05/31/24 14:01:39                                           Desc Notice
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Information to identify the case:
Debtor
                703 Bakery Corp.                                                           EIN:   47−3786422
                Name

 United States Bankruptcy Court     District of New Jersey                                 Date case filed for chapter:        11      5/21/24

 Case number:       24−15150−VFP

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
Undeliverable notices will be sent by return mail to the debtor. It is the debtor's responsibility to obtain the party's correct address, resend the
returned notice, and notify this office of the party's change of address. Failure to provide all parties with a copy of this notice may adversely
affect the debtor as provided by the Bankruptcy Code.



  1. Debtor's full name                       703 Bakery Corp.


  2. All other names used in the dba Patis
     last 8 years


  3. Address                                  323 Ridge Road
                                              Lyndhurst, NJ 07071

                                              Anthony Sodono III                                         Contact phone 973−622−1800
  4. Debtor's attorney                        McManimon, Scotland & Baumann, LLC
      Name and address                        75 Livingston Avenue                                       Email: asodono@msbnj.com
                                              Roseland, NJ 07068

  5. Bankruptcy trustee                       Mark Politan
      Name and address                        Politan Law, LLC                                            Contact phone (973) 768−6072
                                              88 East Main Street #502
                                              Mendham, NJ 07945

  6. Bankruptcy clerk's office                MLK Jr Federal Building                                     Hours open: 8:30 AM − 4:00 p.m.,
      Documents in this case may be filed     50 Walnut Street                                            Monday − Friday (except holidays)
      at this address.                        Newark, NJ 07102
      You may inspect all records filed in
      this case at this office or online at   Additional information may be available at the              Contact phone 973−645−4764
      https://pacer.uscourts.gov. (800)       Court's Web Site:
      676−6856                                www.njb.uscourts.gov.                                       Date: 5/31/24



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Debtor 703 Bakery Corp.                                                                                                Case number 24−15150−VFP


   7. Meeting of creditors                                                                              Location:
      The debtor's representative June 26, 2024 at 11:00 AM
      must attend the meeting to                                                                        Section 341 Meeting will be
      be questioned under oath. The meeting may be continued or adjourned to a later                    conducted by telephone. Please
      Creditors may attend, but   date. If so, the date will be on the court docket.
                                                                                                        consult the docket or contact the
      are not required to do so.                                                                        trustee appointed to the case for
                                                                                                        access or call−in information.


  8. Proof of claim deadline               Deadline for filing proof of claim: 7/30/24 For a governmental unit: 11/18/24

                                           A proof of claim is a signed statement describing a creditor's claim. A proof of claim form ("Official Form
                                           410") may be obtained at www.uscourts.gov or any bankruptcy clerk's office. You may also contact the
                                           Clerk's Office where this case is pending to request that a Proof of Claim form be mailed to you. The Clerk's
                                           Office telephone number is included on the front of this Notice. Also, Claims can be filed electronically
                                           through the court's website at: http://www.njb.uscourts.gov under File An Electronic Claim.

                                           Your claim will be allowed in the amount scheduled unless:

                                                   • your claim is designated as disputed, contingent, or unliquidated;
                                                   • you file a proof of claim in a different amount; or
                                                   • you receive another notice.
                                           If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                           must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                           You may file a proof of claim even if your claim is scheduled.

                                           You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.

                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                           proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                           explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                           rights, including the right to a jury trial.


  9. Exception to discharge                If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                              proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline. Deadline for filing the complaint:


                                            If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign              extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                            have any questions about your rights in this case.


                                           Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                           court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                           and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                           hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                           generally remain in possession of the property and may continue to operate the debtor's business.


                                          Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                          debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
                                          debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                          discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
  12. Discharge of debts                  paying the filing fee in the bankruptcy clerk's office by the deadline.

                                          WRITING A LETTER TO THE COURT OR THE JUDGE IS NOT A SUBSTITUTE FOR FILING AN
                                          ADVERSARY COMPLAINT OBJECTING TO DISCHARGE OR DISCHARGEABILITY. IN NO
                                          CIRCUMSTANCE WILL WRITING A LETTER PROTECT YOUR RIGHTS.




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